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           11                                     UNITED STATES DISTRICT COURT

           12                                  NORTHERN DISTRICT OF CALIFORNIA

           13                                            OAKLAND DIVISION

           14                                                         CASE NO. 4:19-CV-06669 (JST)
                   ROBERT ROSS,
           15                                                         RESPONSE TO COURT’S AUGUST 24, 2021
                                         Plaintiff,                   ORDER
           16
                          v.
           17
                   AT&T MOBILITY LLC, ONE TOUCH
           18      DIRECT, LLC, and, ONETOUCH DIRECT-
                   SAN ANTONIO, LLC,
           19
                                         Defendants.
           20

           21

           22             Pursuant to the Court’s August 24, 2021 order (Dkt. 116), Defendant AT&T Mobility LLC

           23      (“AT&T”), by and through its respective counsel of record, submits the text of Plaintiff’s Request for

           24      Production No. 1 as follows:

           25             1.      All DOCUMENTS authored by any AT&T officer, manager or employee which
           26                     address the issue of unauthorized SIM swaps.

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Gibson, Dunn &

Crutcher LLP
                        Case 4:19-cv-06669-JST Document 117 Filed 08/25/21 Page 2 of 2


               1   Dated: August 25, 2021             GIBSON, DUNN & CRUTCHER LLP
               2

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